Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 1 of 21                                 PageID #: 628




                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF MAINE

VLADEK FILLER,                                      )
                                                    )       Civil Action
                                                    )       Case No.1:15-cv-00048-JAW
        Plaintiff                                   )
v.                                                  )
                                                    )
HANCOCK COUNTY, et al.,                             )
                                                    )
        Defendants.                                 )

                    DEFENDANT MARY KELLETT’S MOTION TO DISMISS WITH
                        INCORPORATED MEMORANDUM OF LAW

        NOW COMES Defendant Mary Kellett (hereinafter “Defendant”), by and through her

attorneys Richardson, Whitman, Large & Badger, PC, and hereby moves to dismiss Plaintiff’s

Amended Complaint.1 In further support thereof, Defendant states as follows:

I.)     INTRODUCTION

        Plaintiff Vladek Filler (hereinafter “Plaintiff”) initiated this action by filing an eight-

count Amended Complaint in state court, which was thereafter removed to this Court. At base,

he has alleged that on or about April 26, 2007, he was wrongfully arrested and charged with

committing one felony offense of Gross Sexual Assault and two misdemeanor offenses of

Assault against his then-wife, Ligia Arguetta Filler. Amended Complaint at ¶ 2. Plaintiff has

further alleged that a slew of constitutional violations were committed by at least eighteen

individuals and/or entities relating to the investigation and prosecution of his crimes. Id. at ¶ 4.

Plaintiff was initially convicted of all three charges in January of 2009, but that verdict was

subsequently overturned. Id. at ¶ 2. Plaintiff was retried in May of 2011, at which point he was

convicted of one misdemeanor Assault charge and acquitted of the other two charges. Id. at ¶ 3.

1
         The undersigned accepted service on Defendant’s behalf on February 17, 2015. Pursuant to Fed. R. Civ. P.
4(d)(3), Defendant’s responsive pleading is due within 60 days of thereof, or April 14, 2015. This Motion to
Dismiss is, therefore, timely.

                                                        1
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 2 of 21                       PageID #: 629




       The Amended Complaint has named eighteen separate individuals and entities as party

defendants. It is incredibly long, spanning over 667 paragraphs and 103 pages. It is redundant,

discusses immaterial and irrelevant facts at length, and overall is unintelligible and confusing.

Plaintiff’s Amended Complaint violates the requirement of a “short and plain statement of the

claim” set forth in F.R. Civ. P. 8(a)(2). As a result, Defendant is left to guess as to exactly which

of Plaintiff’s myriad factual allegations and theories of recovery are actually being advanced

against this Defendant as opposed to the other seventeen parties Plaintiff has sued. This Court

should dismiss Plaintiff’s Amended Complaint for that reason alone.

       Moreover, the Amended Complaint is unduly vague in terms of deciphering what precise

causes of action Plaintiff is attempting to assert against this Defendant in Counts One and Two,

which are the only two counts that appear to be directed to her. It appears, however, that any

claim Plaintiff has attempted to pursue against Defendant must fail as a matter of law.

Therefore, dismissal is proper pursuant to F.R. Civ. P. 12(b)(6).

II.    DISCUSSION

       a.) Count One Must Fail Because it Fails to State a Claim for Relief under 42 U.S.C.
           § 1983 for Denial of Due Process, Denial of the Right to a Fair Trial, and
           Malicious Prosecution under the Fourth and Fourteenth Amendments.

       While it is clear that Count One of the Amended Complaint seeks relief pursuant to 42

U.S.C. § 1983, it is not clear the grounds on which Plaintiff is basing that claim against this

Defendant. It appears as though Count One as it relates to this Defendant is predicated on two

categories of allegations. First, Plaintiff alleges that Defendant improperly advised members of

law enforcement not to comply with subpoenas that Plaintiff’s criminal defense attorney had

issued during his prosecution. Second, it seems that Plaintiff has alleged Defendant maliciously

prosecuted him. Both claims must fail for the reasons that follow.



                                                 2
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 3 of 21                                   PageID #: 630




                 i.)       Many of the Allegations Regarding Defendant’s Advice to Certain
                           Police Officers are Barred by the Statute of Limitations.

        In Count One, Plaintiff claims that Defendant violated his rights to due process and a fair

trial under the Fifth, Sixth, and Fourteenth Amendments by instructing certain law enforcement

officers not to comply with a number of subpoenas that Plaintiff’s criminal defense attorney had

issued. Amended Complaint at ¶¶ 522-24. However, many of those claims are barred by the

statute of limitations.2

        Plaintiff’s initial prosecution began in April of 2007, and his first trial occurred in

January of 2009. Id. at ¶ 2. At the time of that prosecution, Plaintiff was represented by Daniel

Pileggi, Esq. Id. at ¶ 154. Attorney Pileggi issued a subpoena to Ellsworth Police Department

Officer Chad Wilmot on or about May 15, 2008, pursuant to which certain documents were

requested to be produced. Id. at ¶ 210. Plaintiff alleges that Defendant advised the officer not to

comply with the subpoena. Id. at ¶ 212. While Plaintiff has not specifically alleged when that

advice occurred, it logically must have been on or before May 29, 2008 because Plaintiff has

alleged that Attorney Pileggi wrote Defendant a letter on that date complaining about it. Id. at ¶

214.     The six year statute of limitations on that expired on May 29, 2014. The claim is,

therefore, time barred by 14 M.R.S. § 752.

        Plaintiff next alleges that Attorney Pileggi issued subpoenas duces tecum to Gouldsboro

Police Chief Guy Wycoff on May 15, 2008, and to Washington County Sheriff’s Deputy Travis

Willey on May 16, 2008 and December 18, 2008. Amended Complaint at ¶ 240 (Wycoff

subpoena dated May 15, 2008); id. at ¶ 242 (Willey subpoena dated May 16, 2008); id. at ¶ 251

(Willey subpoena dated December 18, 2008). However, there is no allegation that Defendant

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        “The Supreme Court directs federal courts adjudicating civil rights claims under 42 U.S.C. § 1983 to
borrow the statute of limitations applicable to personal injury actions under the law of the forum state.” Street v.
Vose, 936 F.2d 38, 39 (1st Cir. 1991) (citing Wilson v. Garcia, 471 U.S. 261, 276-280, 105 S.Ct. 1938 (1985)).
Maine’s general statute of limitations is six years. 14 M.R.S. § 752.

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Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 4 of 21                              PageID #: 631




advised any of the officers not to comply with those subpoenas. Even if she had, the statute of

limitations would have expired on May 15, May 16, and December 18 of 2014, respectively.

        Finally, Plaintiff seems to allege—although it is quite confusing and not at all clear—that

Defendant also asserted a “legal privilege” on behalf of his then-wife (Ligia Filler) and a local

newspaper editor (Stephen Fay) to prevent certain exculpatory documents from being produced

to Attorney Pileggi. Amended Complaint at ¶ 524.3 However, that claim is barred by the statute

of limitations because Defendant’s alleged conduct occurred by no later than May 29, 2008. Id.

at ¶ 214. Plaintiff did not commence this lawsuit for more than six years after that date, and

accordingly it is time barred. See 14 M.R.S. § 752.

                 (ii)    The Remaining Claims about Defendant’s Advice to Officers not to
                         Comply with Subpoenas Fail to State a Claim under 42 U.S.C. § 1983.

        Next, Plaintiff alleges that Attorney Pileggi issued two subpoenas duces tecum to two

other police officers in the spring of 2009. Amended Complaint at ¶ 261 (subpoena to Deputy

Willey on May 15, 2009); id. at ¶ 272 & 277 (subpoena to Sargent James Malloy of the

Gouldsboro Police Department in April of 2009). As with the other subpoenas, Plaintiff has

alleged that Defendant advised those officers not to comply. Id. at ¶¶ 262-63 (advice to Deputy

Willey); id. at ¶ 279 (advice to Sargent Malloy). While those claims are not barred by the statute

of limitations, they do fail to state a cognizable claim for relief under 42 U.S.C. § 1983.

        Plaintiff claims that Defendant’s actions in instructing the police officers not to comply

with the subpoenas deprived him of his right “[t]o timely disclosure of all material evidence

favorable to the defense pursuant to Brady v. Maryland, Giglio v. United States, and their

progeny, and the Due Process and Fair Trial Clauses of the Fifth, Sixth, and Fourteenth

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        Plaintiff does not specify whether Defendant actually told Ms. Filler and Mr. Fay not to produce those
documents to Attorney Pileggi, or alternatively whether the assertion of “legal privilege” was the basis for
Defendant’s advice to Officer Wilmot not to comply with Attorney Pileggi’s subpoena dated May 15, 2008,
although a fair reading of the Amended Complaint suggests the latter. See id. at ¶¶ 201-14.

                                                      4
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 5 of 21                               PageID #: 632




Amendments to the United States Constitution.” Amended Complaint at ¶ 535(c) (internal

citations omitted).4

        While the foregoing allegation suggests that Defendant’s instructions to the officers

regarding the subpoenas violated a number of Plaintiff’s rights (i.e., a violation of Brady and

Giglio requirements, his due process rights, and his right to a fair trial), in reality it only sets

forth one constitutional violation. A prosecutor’s withholding of material evidence (whether

inculpatory or exculpatory) constitutes a violation of the accused’s due process rights. Brady v.

Maryland, 373 U.S. 83, 87, 83 S.Ct. 1194 (1963). The same is true for the withholding of

evidence relating to the reliability of a witness. Giglio v. United States, 405 U.S. 150, 155, 92

S.Ct. 763 (U.S. 1972). Therefore, it is redundant to say that one had their Brady and Giglio

rights violated, as well as their due process rights. Further, Brady is based on the denial of the

accused due process rights to a fair trial. Morgan v. Gertz, 166 F.3d 1307, 1310 (10th Cir. 1999)

(“The duties to disclose and preserve impeachment/exculpatory evidence are grounded in the due

process right to a fair trial) (emphasis in original) (citing Kyles v. Whitley, 514 U.S. 419, 434,

115 S.Ct. 1555, 131 L.Ed. 2d 490 (1995)). The rights afforded by the Sixth Amendment are not

implicated by the facts of Plaintiff’s allegations against this Defendant. Thus, the allegations in

Count One really boil down to a due process argument.

         However, this Defendant is absolutely immune from suit for any claim that she

wrongfully withheld Brady materials or otherwise violated Plaintiff’s due process rights by

virtue of failing to turn over exculpatory evidence. Title 42 U.S.C. § 1983 “is to be read in

harmony with general principles of tort immunities and defenses rather than in derogation of

them.” Imbler v. Pachtman, 424 U.S. 409, 418, 96 S.Ct. 984 (1976). Going back as far as 1896,

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        Defendant notes that Plaintiff also alleges other constitutional deprivations in Count One in Paragraph
535(a) & (b), but those do not appear to be directed to this Defendant.


                                                      5
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 6 of 21                   PageID #: 633




the common law has recognized that prosecutors are absolutely immune from suit for claims

based upon the exercise of prosecutorial functions. Id. at 421-24. The United States Supreme

Court held that the common law absolute immunity afforded to prosecutors survived the

enactment of 42 U.S.C. § 1983, and that said immunity applied to cases brought under that

statutory scheme. Id. at 424.

       In Imbler, the plaintiff was initially tried and convicted of murder. Id. at 411-12. After

failing to have his conviction overturned on a state habeas corpus petition, the plaintiff was

eventually successful on a federal habeas petition. Id. at 412-15. The grounds for overturning

the plaintiff’s conviction included six separate instances of prosecutorial misconduct (including

the culpable use of misleading and false testimony) and two instances of withholding

exculpatory evidence. Id. at 414-15. The plaintiff thereafter filed a § 1983 claim against the

prosecutor who obtained the murder conviction. Id. at 416. The plaintiff claimed that the

prosecutor had knowingly used false evidence and failed to disclose exculpatory evidence. Id.

Both the District Court and the Ninth Circuit dismissed the plaintiff’s claim pursuant to Fed. R.

Civ. P. 12(b)(6) on the grounds that the prosecutor was absolutely immune from suit. Id.

       Ultimately, the Supreme Court held that the “well settled” common law regarding

absolute prosecutorial immunity applied to § 1983 actions. Id. at 424. The Court was clear that

absolute immunity does not turn on a finding of good faith, as it shields even those prosecutors

whose malicious and dishonest actions deprive an individual of liberty. Id. at 427. The Court

held that prosecutors are entitled to absolute immunity for activities that are “intimately

associated with the judicial phase of the criminal process.” Id. at 430. In other words, “in

initiating and presenting the State’s case, the prosecutor is absolutely immune from a civil suit

for damages under s [sic] 1983.” Id. at 431. In explaining the rationale behind extending



                                               6
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 7 of 21                     PageID #: 634




absolute immunity to prosecutors for their use of false evidence or failure to produce exculpatory

evidence, the Court duly noted that:

       Moreover, suits that survived the pleadings would pose substantial danger of
       liability even to the honest prosecutor. The prosecutor's possible knowledge of a
       witness' falsehoods, the materiality of evidence not revealed to the defense, the
       propriety of a closing argument, and ultimately in every case the likelihood that
       prosecutorial misconduct so infected a trial as to deny due process, are typical of
       issues with which judges struggle in actions for post-trial relief, sometimes to
       differing conclusions. The presentation of such issues in a s [sic] 1983 action
       often would require a virtual retrial of the criminal offense in a new forum, and
       the resolution of some technical issues by the lay jury. It is fair to say, we think,
       that the honest prosecutor would face greater difficulty in meeting the standards
       of qualified immunity than other executive or administrative officials. Frequently
       acting under serious constraints of time and even information, a prosecutor
       inevitably makes many decisions that could engender colorable claims of
       constitutional deprivation. Defending these decisions, often years after they were
       made, could impose unique and intolerable burdens upon a prosecutor responsible
       annually for hundreds of indictments and trials.

Id. at 425-26. Accordingly, the Court dismissed the plaintiff’s claims against the prosecutor

based on the alleged suppression of exculpatory material. Id. at 430-31. See also id. at n. 34

(stating that for purposes of prosecutorial absolute immunity, there is no distinction between a

prosecutor wilfully using perjured testimony as opposed to wilfully suppressing exculpatory

evidence); Van de Kamp v. Goldstein, 555 U.S. 335, 343, 129 S.Ct. 855 (2009) (same).

       Imbler, therefore, established that prosecutors enjoy absolute immunity for Brady

violations because the decision of whether or not to turn over particular pieces of evidence is

“intimately associated with the judicial phase of the criminal process.” As Plaintiff’s Amended

Complaint apparently sets forth a claim for relief predicated on Brady and Giglio violations,

Defendant is absolutely immune from suit and dismissal is warranted under Rule 12(b)(6).

       Plaintiff may argue that the absolute immunity afforded by Imbler does not apply because

Defendant did not directly commit the Brady and Giglio violations complained of, but rather she

“assumed the role of legal counsel” to the law enforcement officers by advising them not to


                                                7
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 8 of 21                      PageID #: 635




comply with the subpoenas. As such, Plaintiff may argue that Defendant only has qualified

immunity and that dismissal under Rule 12(b)(6) is not proper.

       It is true that case law has established that prosecutors enjoy qualified immunity for legal

advice given to law enforcement during the investigatory phase of a criminal case. See Burns v.

Reed, 500 U.S. 478, 493, 111 S.Ct. 1934 (1991). However, the allegations in this case are

different than what the Supreme Court addressed in Burns.

       In that case, law enforcement personnel had detained a criminal suspect and were

investigating her involvement in a shooting. Id. at 481. During that investigation, the officers

called a local prosecutor in order to get legal advice about whether or not they could interview

the suspect while she was under hypnosis. Id. at 482. The prosecutor advised that it was an

acceptable interrogation technique. Id. After the suspect made incriminating statements during

that interview, the officers called the prosecutor a second time to see if they had probable cause

to arrest the suspect. Id. The prosecutor advised that they “probably” had probable cause. Id.

The suspect subsequently filed a § 1983 claim against the prosecutor based on the advice given

to the police officer. Id. at 483. The issue presented on appeal was whether the prosecutor had

absolute immunity for the legal advice he had given. Id. The Supreme Court wrote that they did

not believe “that advising the police in the investigative phase of a criminal case is so intimately

associated with the judicial phase of the criminal process that it qualifies for absolute immunity.”

Id. (emphasis added) (internal quotations and citations omitted).

       Importantly, the Burns case did not set forth a blanket rule that prosecutors never have

absolute immunity for legal advice given to law enforcement. Rather, the holding in that case

dealt solely with legal advice given to police during the “investigative phase” of a criminal case.

See id. at 493-96. Indeed, the Court recognized that absolute immunity is concerned with the



                                                 8
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 9 of 21                      PageID #: 636




risk of burdensome litigation against prosecutors based on their conduct in the “judicial process”

or “judicial proceedings.” Id. at 494. To that end, the question of whether or not absolute

immunity extends to a particular set of facts depends on an analysis of “whether the prosecutor’s

actions are closely associated with the judicial process.” Id. at 495.

       In the case at hand, Defendant’s alleged conduct is distinguishable from what was

involved in the Burns case.        There, the prosecutor gave the police advice during the

“investigatory phase” regarding acceptable interrogation techniques and the existence of

probable cause. That advice was given well before the initiation of any prosecution. In contrast,

Plaintiff in this case was arrested and charged with his crimes on April 26, 2007. Amended

Complaint at ¶ 2. Plaintiff claims that in the spring of 2009 (which was a time frame in which he

was being actively prosecuted), Defendant advised police officers not to comply with Attorney

Pileggi’s subpoenas. Id. at ¶¶ 261, 272 & 277. Those subpoenas sought material that was

allegedly directly related to his pending criminal charges. Id. On its face, Plaintiff’s allegations

relating to Defendant’s advice to the police officers was not during the “investigatory” phase of

his prosecution, but in fact occurred during a time period in which he was being actively

prosecuted. Moreover, Defendant’s alleged conduct directly related to the judicial phase of the

case and/or judicial proceedings. Subpoenas are a form of judicial process and are issued with

the authority of the Court. Defendant was required to get notice of those subpoenas, and she had

the right to move to quash and/or modify the subpoenas. See M.R. Crim. P. 18(c) (Defendant’s

right to notice); M.R. Crim. P. 18(d) (Defendant’s right to move to quash and/or modify).

       Furthermore, it is imperative to note that the subpoenaed materials allegedly contained

what Plaintiff claims he was entitled to in discovery anyway. In other words, the subpoenas

apparently related to Brady and/or Giglio material. Under Imbler, Defendant would undeniably



                                                 9
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 10 of 21                                      PageID #: 637




have absolute immunity if she had those materials herself and made the decision not to turn them

over. Her alleged conduct in this case is but one step removed from that, i.e., advising the police

not to produce the material. Functionally, that is a distinction without a difference.

                  (iii)    Defendant is Absolutely Immune From Suit for any Claim Based on
                           Malicious Prosecution.

         Count One also claims that Defendant maliciously prosecuted him and, as a result, he was

deprived of his right to be free from arrest and imprisonment under the Fourth and Fourteenth

Amendments absent probable cause.5 Amended Complaint at ¶¶ 534-36.6 However, Defendant

is absolutely immune from such a suit.

         As previously discussed, Imbler held that prosecutors enjoy absolute immunity from suit

for actions that are intimately associated with the judicial phase of the criminal process. One of

the plaintiff’s § 1983 claims against the prosecutor in that case was for malicious prosecution.

Imbler, 424 U.S. at 416. The Court determined that the decision to prosecute an individual is

intimately associated with the judicial phase of the criminal process and, accordingly, “in

initiating and in presenting the State’s case, the prosecutor is immune from a civil suit for


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          Plaintiff also alleges that the malicious prosecution deprived him of his right to due process under the Fifth
and Fourteenth Amendments. Amended Complaint at ¶ 535 (a). It is not clear if Plaintiff is making an argument
based on substantive or procedural due process. Substantive due process does not “furnish the constitutional peg on
which to hang the tort of malicious prosecution” in a § 1983 claim. Trafton v. Devlin, 43 F. Supp. 2d 56, 60 (D. Me.
1999) (quoting Albright v. Oliver, 510 U.S. 266, 271 n.4, 114 S.Ct. 807 (1994)). Consequently, to the extent
Plaintiff has attempted to predicate the malicious prosecution claim on a claimed violation of substantive due
process, it must fail as a matter of law. Relatedly, a claim under § 1983 for malicious prosecution based on violation
of procedural due process rights can only exist “where no adequate post-deprivation remedy is available under state
law.” Id. at 61. This Court has recognized that Maine does indeed have a common law tort for malicious
prosecution, and that consequently plaintiff’s do have an “adequate state law remedy” that precludes § 1983 actions
for procedural due process violations based on malicious prosecution. Id. at 62.
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         Paragraph 527 also alleges that “defendants” conspired to maliciously prosecute Plaintiff. As is consistent
with the rest of the Amended Complaint, it is unduly vague and confusing because the paragraph does not specify
which of the 11 separate defendants named in Count One allegedly engaged in that conspiracy. However, it
presumably did not include this Defendant as the Amended Complaint goes on to state that “they” (referring to the
members of the conspiracy) “knew that the Hancock County District Attorney’s office and the Court would rely on
their improper actions in initiating and continuing Filler’s prosecution, placing him on house arrest pending trial,
and at trial itself.” Id. at ¶ 528. It would be incongruous for Defendant to be part of the conspiracy on the one
hand, and at the same time be one of the individuals that the conspiracy intended to mislead on the other hand.

                                                          10
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 11 of 21                    PageID #: 638




damages under § 1983.” Id. at 431. Therefore, the Supreme Court held that the plaintiff’s claim

for malicious prosecution was barred by absolute immunity. Id. See also Burns, 500 U.S. 478 at

485 (noting that Imbler held “at common law prosecutors were immune from suits for malicious

prosecution and for defamation); Cartagena v. U.S. Dep’t of Justice, 75 Fed. Appx. 795, 798 (1st

Cir. 2003) (malicious prosecution claims are barred by absolute immunity); Siano v. Justices of

Massachusetts, 698 F.2d 52, 57-58 (1st Cir. 1983) (same).

       In this case, the Imbler decision makes it clear that Plaintiff’s § 1983 claim against this

Defendant for malicious prosecution is barred by absolute immunity. Consequently, dismissal is

proper under Rule 12(b)(6).

               (iv)   The Malicious Prosecution Claim Must Also Fail Because it is Barred
                      by the State of Limitations, and Also Because Plaintiff Cannot Make a
                      Prima Facie Showing.

       In addition to the fact that Defendant is absolutely immune from the malicious

prosecution claim, it is also barred by the statute of limitations. Plaintiff was arrested and

charged on April 26, 2007. Amended Complaint at ¶ 2. Plaintiff was indicted on or about

August 8, 2007. Id. at ¶ 55. As Maine has a general six year statute of limitations for civil

actions, Plaintiff’s malicious prosecution claim is well past time barred under 14 M.R.S. § 752.

       Furthermore, Plaintiff cannot establish a prima facie case for malicious prosecution. To

succeed on that claim under Maine law, Plaintiff must prove the following:

               (1)        Defendant initiated, procured, or continued a prosecution without
                          probable cause;
               (2)        Defendant acted with malice; and
               (3)        Plaintiff received a favorable termination of the proceedings.

Trask v. Devlin, 2002 ME 10, ¶ 11, 788 A.2d 179.

       In the case at hand, Plaintiff’s initial prosecution resulted in his conviction for Gross

Sexual Assault and two counts of Assault. Amended Complaint at ¶ 57. Plaintiff admits that


                                               11
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 12 of 21                               PageID #: 639




after his first conviction was overturned and he was retried, he was again convicted of one count

of Assault. Id. at ¶ 68. Because he was convicted of one of those charges even after his second

trial, Plaintiff cannot establish that he “received a favorable termination of the proceedings.”

        b.) Count Two Must Fail Because it Fails to State a Claim for Relief under 42 U.S.C.
            § 1983 for Defamation and Malicious Prosecution Under the Fourth and
            Fourteenth Amendments, and Also for Denial of his Rights to Due Process and a
            Fair Trial Under the Fifth, Sixth, and Fourteenth Amendments.

        Count Two, much like Count One, is not a model of clarity in terms of precisely what

cause(s) of action are being presented against this Defendant. It appears as though Plaintiff has

alleged that certain statements Defendant made to the press about him were defamatory.

Plaintiff also appears to be making yet another claim against Defendant for malicious

prosecution. Once again, each of Plaintiff’s claims are fatally flawed.

                 i.)     The Majority of Plaintiff’s Defamation Claims are Barred by the
                         Statute of Limitations.

        Count Two includes a number of statements that Defendant allegedly made about

Plaintiff and the crimes he committed, which Plaintiff claims were “defamatory.” Maine’s

general six year statute of limitations applies to § 1983 claims based on defamatory comments.7

        Plaintiff has alleged that Defendant made the following defamatory remarks, all of which

occurred more than six years prior to the commencement of litigation:

        1. On April 27, 2007, Defendant provided to the press a copy of an “Affidavit in
           Support of Arrest Warrant” that contained false information (Amended Complaint at
           ¶¶ 542-544);

        2. On April 27, 2007, Defendant provided a copy of Plaintiff’s “mug shot” to the press,
           which was featured on the front page of the Bangor Daily News on April 28-29, 2007
           (Amended Complaint at ¶ 545); and

        3. In September of 2008, Defendant falsely told the Guardian ad Litem in Plaintiff’s

7
          Maine has a two year statute of limitations on defamation actions. See 14 M.R.S. § 753. However, as
previously indicated, the Supreme Court has made it clear that § 1983 actions are governed by a state’s general
statute of limitations for personal injury actions. See n.2, supra.

                                                      12
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 13 of 21                       PageID #: 640




           divorce / child custody case false information about Plaintiff (Amended Complaint at
           ¶ 549).

       As is clear from the foregoing, the most recent statement that Defendant allegedly made

occurred approximately six years and three months before this lawsuit was filed. The oldest

statement was seven years and roughly eight-and-a-half months prior to the initiation of this

case. All of those statements are therefore well beyond the six year statute of limitations in 14

M.R.S. § 752, and as such any claims based on those statements must be dismissed.

                ii)      The Remaining Defamation Claim Must Fail Because Defamation
                         Does not Give Rise to Liability Under 42 U.S.C. § 1983

       Plaintiff has alleged that Defendant made one defamatory statement on January 16, 2009,

which would not be barred by the statute of limitations. Amended Complaint at ¶ 550. That

claim must also fail because, as this Court is well aware, 42 U.S.C. § 1983 does not confer any

substantive rights. Rather, it provides plaintiffs with a procedural mechanism whereby they can

seek a remedy for an alleged violation of their constitutional rights by a state actor. The statute

specifically provides, in pertinent part, as follows:

       Every person who, under color of any statute, ordinance, regulation, custom, or
       usage of any State or Territory or the District of Columbia subjects, or causes to
       be subjected, any citizen of the United States or other person within the
       jurisdiction thereof to the deprivation of any rights, privileges, or immunities
       secured by the Constitution and laws,8 shall be liable to the party injured in an
       action at law, suit in equity, or other proper proceeding for redress.

42 U.S.C. § 1983. In other words, a plaintiff can only maintain a 1983 action when there has

been some underlying violation of his constitutionally protected rights. Count Two is fatally

deficient because there is no constitutionally protected right to be free from defamation.

Connecticut Department of Public Safety v. Doe, 538 U.S. 1, 6-7, 123 S.Ct. 1160 (2003) (“mere

injury to reputation, even if defamatory, does not constitute the deprivation of a liberty interest).

8
       The “and laws” provision is inapposite to the case at hand.


                                                       13
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 14 of 21                        PageID #: 641




        Nearly forty years ago in the case of Paul v. Davis,9 the United States Supreme Court

ruled that a defamation claim will not give rise to liability under 42 U.S.C. § 1983. In that case,

the plaintiff was an individual that had previously been charged with shoplifting and the

defendants were local police chiefs. Paul v. Davis, 424 U.S. 693 at 694-95. The defendants had

circulated flyers to approximately 800 area merchants in order to warn them about potential

shoplifters.   Id. at 695. The flyers included the name and photographs of the suspected

shoplifters, including the plaintiff. Id. Subsequent to the circulation of the flyers, plaintiff’s

shoplifting charge was dismissed. Id. at 696. Eventually, the plaintiff’s employer saw the flyer

and admonished him. Id. The plaintiff thereafter filed a 1983 action against the defendants. Id.

The district court initially dismissed plaintiff’s 1983 action due to failure to state a claim. Id. at

696. The Sixth Circuit reversed, however, on the grounds that the plaintiff sufficiently alleged

that the defamation resulted in a denial of due process. Id. at 697. The due process claim related

to the plaintiff’s assertion that: (1) the circulation of the flyer inhibited him from entering certain

businesses for fear of being suspected of shoplifting and potentially being apprehended; and (2)

the imputation of criminal conduct impaired his employment opportunities. Id.

        The Supreme Court rejected the plaintiff’s arguments and reversed the Sixth Circuit’s

decision. Id. at 712. The Supreme Court recognized that there were two possible premises upon

which the Sixth Circuit’s decision might have rested: (1) the Due Process Clause of the

Fourteenth Amendment provided a cause of action for wrongs committed by state actors that

were traditionally only thought of as state tort claims; or (2) a state actor’s infliction of a

“stigma” on a plaintiff’s reputation constitutes some form of special harm to a protected liberty

interest that is actionable under § 1983 and the Fourteenth Amendment. Id. at 699.

        The Court easily disposed of the first premise on the grounds that “such a reading would
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        424 U.S. 693, 96 S.Ct. 1155 (1976).

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Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 15 of 21                                       PageID #: 642




make the Fourteenth Amendment a font of tort law to be superimposed upon whatever systems

may already be administered by the States.” Id. at 701. In other words, there would be no

logical endpoint to the plaintiff’s due process argument and it “would seem almost necessarily to

result in every legally cognizable injury which might have been inflicted by a state official acting

under ‘color of law’ establishing a violation of the Fourteenth Amendment.” Id. at 698-99.

         As to the second premise, the Court first noted that the Fourteenth Amendment’s use of

the words “liberty” and “property” certainly do not single out one’s reputation as an interest that

is entitled to special protection over and above other interests that may be protected by state law.

Id. at 701. The Court went on to hold that one’s interest in their reputation is neither “property”

nor “liberty” that is protected by the Due Process Clause of the Fourteenth Amendment, but

rather is an interest that can be vindicated through state tort law. Id. at 712. “That being the

case, petitioner’s defamatory publications, however seriously they may have harmed

respondent’s reputation, did not deprive him of any ‘liberty’ or ‘property’ interests protected by

the Due Process Clause.” Id.

         In this case, it is clear that Plaintiff cannot maintain a 1983 action against Defendant

based upon a claim for defamation. While Plaintiff has claimed that the defamatory statements

caused him “public ridicule, increased loss of reputation, loss of business, and earnings, and

emotional and physical distress,” Paul v. Davis makes it clear that those claims are insufficient to

state a claim for relief under 42 U.S.C. § 1983.10


10
         Should Plaintiff attempt to argue that any defamatory statements caused a “loss of business and earnings”
that would be futile. The plaintiff in Paul v. Davis tried to make a similar argument, which the Supreme Court flatly
rejected. While a plaintiff who lost a government job due to defamatory statements made by another governmental
actor may have suffered a loss of a protected liberty or property interest, see id. at 706, that is an entirely different
scenario than the case at hand. Government employees may have a reasonable expectation—arising out of statute,
policy, rule, or contract—of continued employment thereby requiring a certain level of due process before
termination. See generally Wojcik v. Massachusetts State Lottery Comm’n, 300 F.3d 92, 101-02 (1st Cir. 2002). In
this case, Plaintiff has not alleged that he was employed by any branch of the government. In fact, Plaintiff has
actually alleged that he ran his own small business. Amended Complaint at ¶¶ 15, 33, 42, 558.

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Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 16 of 21                                  PageID #: 643




        Finally, it should be noted that in Count Two Plaintiff also alleged that Defendant’s

defamatory statements “inflamed the populace of Hancock County and surrounding areas, and

even a national audience against [Plaintiff], and were made to deprive [Plaintiff] of his

constitutional rights to a fair trial, fair post-trial proceedings, including sentencing, and

ultimately a new trial.” Amended Complaint at ¶ 557. On the basis of Plaintiff’s own pleadings,

the sole defamatory statement that Defendant allegedly made that is not time barred (i.e., the one

allegedly made on January 16, 2009) could not have possibly had the result of depriving Plaintiff

of any of his constitutional rights. The statement was allegedly made one day after the jury

returned the verdict in his first criminal trial. Amended Complaint at ¶ 56 (first trial completed

by January 15, 2009). Moreover, there is no allegation that Plaintiff ever served a sentence as a

result of that first conviction, let alone that any sentencing included any type of constitutional

infirmity. To the contrary, that conviction was set aside by the trial court on March 2, 2009,

which was subsequently affirmed by the Law Court on September 9, 2010. Amended Complaint

at ¶¶ 58 & ¶ 65. There is no allegation that Defendant’s comment on January 16, 2009 played

any role whatsoever in Plaintiff’s second jury trial, his sentencing as a part of that trial, or his

current post-conviction review process. Even if the Amended Complaint could be read that

broadly, it would be legally insufficient due to a complete lack of any factual support in the

Amended Complaint to support such a bald and unadorned accusation.11

        Accordingly, Count Two of Plaintiff’s Amended Complaint fails to state a claim upon

which relief may be granted and should be dismissed by this Court, with prejudice.



11
          See Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937 (2009) (holding that a complaint must contain
“more than an unadorned, the-defendant-unlawfully-harmed-me accusation . . . [a] pleading that offers labels and
conclusions or a formulaic recitation of the elements of a cause of action will not do . . . [n]or does a complaint
suffice if it tenders naked assertions devoid of further factual enhancement.”) (internal quotations and citations
omitted).


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Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 17 of 21                         PageID #: 644




                iii)     The Malicious Prosecution Claim in Count Two is Barred by Absolute
                         Immunity.

        For all of the reasons set forth in subsection 2(a)(iii), supra, which is incorporated herein

by reference, Plaintiff’s § 1983 claim for malicious prosecution in Count Two is also barred by

absolute immunity. See Imbler, 424 U.S. at 431.

        c.) While it is Not Clear Whether Plaintiff’s Amended Complaint Presents a Direct
            Claim Based on her Alleged Withholding of Exculpatory Material, Such a Claim
            Would be Barred by Absolute Immunity.

        The Amended Complaint contains a number of factual allegations relating to Defendant’s

alleged wrongful withholding and/or outright refusal to turn over exculpatory materials in

violation of the requirements of Brady v. Maryland.12

        Neither Count One nor Count Two—the only two counts directed to this Defendant—

appear to present a direct claim13 for any Brady violation. In the event the Amended Complaint

is construed as making such a claim, however, it is worth reiterating that Defendant would be

absolutely immune from suit for that claim. Campbell v. State of Maine, 787 F.2d 776, 778 (1st

Cir. 1986) (holding that § 1983 claims based on alleged Brady violations are barred by the

doctrine of absolute prosecutorial immunity).

        d.) The Entirety of Plaintiff’s Amended Complaint Should be Dismissed Because it
            Violates the Requirement of a “Short and Plain Statement” set Forth in Rule
            8(a)(2).

        Finally, in the event that any of Plaintiff’s Amended Complaint survives the grounds for

dismissal discussed above, it ought to be dismissed for violation of F.R. Civ. P. 8(a)(2). To

simply call Plaintiff’s Amended Complaint “lengthy” would truly do a disservice to its prolixity.

Plaintiff’s Amended Complaint is 103 pages long and consists of 667 separate paragraphs (many

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        373 U.S. 83, 83 S.Ct. 1194 (1963).
13
        As opposed to an indirect claim based on Defendant’s alleged advice to police officers regarding
subpoenas, as discussed in subsection 2(a)(ii), supra.

                                                  17
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 18 of 21                                   PageID #: 645




of which contain numerous factual allegations). Indeed, the first cause of action is not set forth

until after the Amended Complaint has droned on for over 78 pages and 519 paragraphs. For all

of its length and complexity, however, it fails to accomplish the one true and proper goal of a

complaint—to give Defendant fair notice of the claims that are being asserted against her.

        Plaintiff’s Amended Complaint is in direct violation of Rule 8(a)(2), which requires a

Amended Complaint to include “a short and plain statement of the claim showing that the

pleader is entitled to relief.” F.R. Civ. P. 8(a)(2) (emphasis added).14 It is well settled law that a

Court may dismiss a complaint that fails to comply with Rule 8(a)’s requirement of a “short and

plain” statement. See Kuehl v. FDIC, 8 F.3d 905, 908 (1st Cir. 1993) (“A district court has the

power to dismiss a complaint when a plaintiff fails to comply with the Federal Rules of Civil

Procedure, including rule 8(a)(2)’s ‘short and plain statement’ requirement”); Black v. UNUM

Provident Corp., 245 F. Supp. 2d 194, 197 (D. Me. 2003) (“A district court has the power to

dismiss a complaint when a plaintiff fails to comply with Rule 8(a)’s ‘short and plain statement’

requirement”); In re Westinghouse Securities Litigation, 90 F.3d 696, 704 (3rd Cir., 1996)

(affirming district court’s dismissal of plaintiff’s complaint due to the violation of Rule 8(a)).

        To be sure, the purpose behind Rule 8(a)’s requirement of a “short and plain statement” is

not formalistic; rather, it is to ensure that a defendant has fair notice of the claims that are being

presented and to enable the defendant to formulate a response. See generally Black, 245 F.

Supp. 2d at 197. The Amended Complaint fails to accomplish that goal in the case at hand.

        In this case, Plaintiff’s Amended Complaint is unnecessarily verbose and confusing in

multiple respects. Counts One and Two are completely unintelligible. For instance, Count One

is directed to eleven defendants. It seeks relief under 42 U.S.C. § 1983, purportedly based on

14
         That sentiment is further supplemented by Rule 8(d)(1), which requires that “[e]ach allegation must be
simple, concise, and direct.” F.R. Civ. P. 8(d)(1) (emphasis added). Taken as a whole, Rule 8 very clearly places an
emphasis on clarity and brevity.

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Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 19 of 21                      PageID #: 646




“Denial of Rights to Due Process and a Fair Trial Under the Fifth, Sixth, and Fourteenth

Amendments; Malicious Prosecution and Deprivation of Liberty under the Fourth and

Fourteenth Amendments.” Amended Complaint at Count One, p. 79. It is not at all clear how

many constitutional rights Plaintiff alleges were actually violated in Count One. Depending on

how one interprets its wording, Count One could be alleging as few as two or as many as ten

constitutional violations. To further compound the problem, at no point does Plaintiff clarify or

specify which of those eleven defendants named in Count One violated which of those

constitutional rights, or even whether they all violated all of those rights. In fashioning a defense

to this case, Defendant should not be put in a position where she has to guess as to what claims

Plaintiff is making against her. Instead, Plaintiff should submit a “simple, concise, and direct”

claim in accordance with the Rules.

       Along those same lines, Plaintiff’s Amended Complaint contains literally hundreds upon

hundreds (if not thousands) of factual allegations when one takes into consideration all of the

redundancy. Relatedly, Counts One and Two, which are purportedly directed at this Defendant,

reincorporate all of the other allegations previously made in the Amended Complaint. For

instance, with respect to Count Two, that means that no less than 540 prior paragraphs (many

with more than one factual allegation) are reincorporated into the count against this Defendant.

That is so despite the fact that many of those allegations have nothing whatsoever to do with this

Defendant. The result is that the Defendant must still analyze all of those 540 prior paragraphs

and attempt to guess as to which allegations may or may not apply to the claims Plaintiff has

asserted against this specific Defendant.

       By failing to comply with the simplicity requirement of Rule 8(a), Plaintiff has made this

Amended Complaint unduly confusing and has placed an unnecessary burden on both this Court



                                                 19
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 20 of 21                     PageID #: 647




and this Defendant. For all intents and purposes, Defendant is left to her own devices to

ascertain which factual allegations actually pertain to the claims that Plaintiff has made against

her and which factual allegations only relate to claims that Plaintiff is pursuing against the other

fourteen defendants. Defendant should not have to engage in such a speculative endeavor.

        Because Plaintiff’s Amended Complaint violates both the letter and the spirit of Rule

8(a), it has completely failed to give Defendant fair notice about the claims that have been

asserted (or not asserted) against her.        Consequently, dismissal is proper.       See In re

Westinghouse Securities Litigation, 90 F.3d at 703 (finding that the district court’s decision to

dismiss a plaintiff’s “unnecessarily complicated and verbose” complaint for violating Rule 8(a),

with directions to simplify and narrow the scope of the complaint, made “a tremendous amount”

of sense).

III.)   CONCLUSION

        Wherefore, for all of the reasons previously set forth herein, Defendant prays for a

dismissal of Plaintiff’s Amended Complaint, and for her costs and attorneys’ fees and such other

further and additional relief as this Court deems just.



Dated at Bangor, Maine, this the 16th day of March, 2015.


                                                      Defendant Mary Kellett, by her
                                                      Attorneys:

                                                      /s/ Frederick J. Badger, Jr.
                                                      /s/ Joshua A. Randlett
                                                      __________________
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                                                 20
Case 1:15-cv-00048-JAW Document 14 Filed 03/16/15 Page 21 of 21                   PageID #: 648




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                                   CERTIFICATE OF SERVICE

       I, Joshua A. Randlett, Esq., attorney for Defendant Kellett, hereby certify that on March
16, 2015, I electronically filed the foregoing Motion to Dismiss with the Clerk of Court by using
the CM/ECF system, which will send notification of such filing to all counsel of record in the
above-referenced matter.

                                                    /s/ Joshua A. Randlett
                                                    Joshua A. Randlett, Esq.
                                                    Attorney for Defendant Mary Kellett




                                               21
